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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 PROLITEC INC.,

                Plaintiff/Counterclaim-
                Defendant,
                                                     C.A. No. 20-984-WCB
        v.

 SCENTAIR TECHNOLOGIES, LLC,

                Defendant/Counterclaim-
                Plaintiff

                 NOTICE OF DEPOSITION OF ROBERT L. VIGIL, Ph.D.

To:
 Brian Lemon                                Marc C. Levy
 Akerman LLP                                Syed M. Abedi
 222 Delaware Avenue, Suite 1710            Brian McQuillen
 Wilmington, DE 19801                       Jessica S. Gritton
                                            Emily M. Ross
                                            SEED IP LAW GROUP LLP
                                            701 Fifth Avenue, Suite 5400
                                            Seattle, WA 98104


       PLEASE TAKE NOTICE, pursuant to Rule 30(b)(1) of the Federal Rules of Civil

Procedure, Defendant ScentAir Technologies, LLC (“ScentAir”), by and through its undersigned

counsel, will take the videotaped deposition upon oral examination of Robert L. Vigil, Ph.D.,

commencing at 9:00 a.m. EST on September 16, 2024, at Hilton Garden Inn, Mayfaire Town

Center, 6745 Rock Spring Road, Wilmington NC 28405.

       The deposition will be taken before a notary public or other officer authorized to administer

oaths and shall be recorded by stenographic and videographic means. The deposition will continue

day to day until completed. All counsel of record are invited to attend and participate.
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 Dated: September 11, 2024       K&L GATES LLP

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